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                               UNITED STATES BANKRUPTCY COURT
                                    DISTRICT OF DELAWARE

                                                                    Chapter 11
    In re:
                                                                    Case No. 23-10852 (KBO)
    iMedia Brands, Inc., et al.,1
                                                                    (Jointly Administered)
                                                Debtors.
                                                                    Ref. Docket No. 246


                ORDER (I) ESTABLISHING PROCEDURES FOR
        INTERIM COMPENSATION AND REIMBURSEMENT OF EXPENSES
      FOR RETAINED PROFESSIONALS AND (II) GRANTING RELATED RELIEF

             Upon the Debtors’ Motion for Entry of an Order Establishing Procedures for Interim

Compensation and Reimbursement of Expenses for Retained Professionals (the “Motion”)2 filed

by the above-captioned debtors and debtors in possession (collectively, the “Debtors”); and upon

consideration of the Motion and all pleadings related thereto; and this Court having found that it

has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended Standing

Order of Reference from the United States District Court for the District of Delaware, dated

February 29, 2012; and this Court having found that venue of these Chapter 11 Cases and the

Motion in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and this Court having

found that this matter is a core proceeding pursuant to 28 U.S.C. § 157(b)(2); and this Court having

determined that it may enter a final order consistent with Article III of the United States

Constitution; and it appearing that notice of the Motion has been given as set forth in the Motion



1     The Debtors in these Chapter 11 Cases, along with the last four digits of each Debtor’s federal tax identification
      number are: ValueVision Media Acquisitions, Inc. (8670); iMedia Brands, Inc. (3770); ValueVision Interactive,
      Inc. (8730); Portal Acquisition Company (3403); VVI Fulfillment Center, Inc. (5552); ValueVision Retail Inc.
      (2155); JWH Acquisition Company (3109); PW Acquisition Company, LLC (0154); EP Properties, LLC (3951);
      FL Acquisition Company (3026); Norwell Television, LLC (6011); and 867 Grand Avenue, LLC (2642). The
      Debtors’ service address is 6740 Shady Oak Road, Eden Prairie, MN 55344-3433.
2     Capitalized terms used but not otherwise defined herein shall have the meaning given to them in the Motion.



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and that such notice is adequate and no other or further notice need be given; and this Court having

found and determined that the relief sought in the Motion is in the best interests of the Debtors’

estates, their creditors, and all other parties in interest; and that the legal and factual bases set forth

in the Motion establish just cause for the relief granted herein; and after due deliberation and

sufficient cause appearing therefor,

        IT IS HEREBY ORDERED THAT:

        1.       The relief requested in the Motion is granted as set forth herein.

        2.       Except as may otherwise be provided in orders authorizing the retention of specific

Professionals, all Professionals in the Chapter 11 Cases may seek monthly compensation in

accordance with the following Compensation Procedures:

                             a.   No earlier than the fourteenth (14th) day of each calendar month
                                  following the month for which compensation is sought, each
                                  Professional seeking interim allowance of its fees and expenses may
                                  file an application (including the relevant time entry and description
                                  and expense detail) with the Court pursuant to section 331 of the
                                  Bankruptcy Code for interim allowance of compensation for
                                  services rendered and reimbursement of expenses incurred during
                                  the preceding month (a “Monthly Fee Application”), and serve a
                                  copy of such Monthly Fee Application, by hand or overnight
                                  delivery, on the following parties (collectively, the “Notice
                                  Parties”): (i) the Debtors, 6740 Shady Oak Road, Eden Prairie, MN
                                  55344-3433            (Attn:               Alex         Wasserburger
                                  (awasserburger@imediabrands.com)); (ii) proposed co-counsel to
                                  the Debtors, Ropes & Gray LLP, 1211 Avenue of the Americas,
                                  New York, NY 10036 (Attn: Ryan Preston Dahl and Cristine Pirro
                                  Schwarzman,          email:      ryan.dahl@ropesgray.com          and
                                  cristine.schwarzman@ropesgray.com); Ropes & Gray LLP, 191
                                  North Wacker Drive, 32nd Floor, Chicago, IL 60606 (Attn: Stephen
                                  L. Iacovo, email: stephen.iacovo@ropesgray.com); and Pachulski
                                  Stang Ziehl & Jones LLP, 919 N. Market Street, 17th Floor,
                                  Wilmington, Delaware 19801 (Attn: Laura Davis Jones, email:
                                  ljones@pszjlaw.com         and    Timothy      P.    Cairns,    email:
                                  tcairns@pszjlaw.com); (iii) the United States Trustee for the District
                                  of Delaware, 844 N. King Street, Room 2207, Wilmington,
                                  Delaware,         Attn:            Richard        L.     Schepacarter
                                  (richard.schepacarter@usdoj.gov); (iv) counsel to the Prepetition



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                                  Agent, Blank Rome LLP, 1201 North Market Street, Suite 800,
                                  Wilmington, Delaware 19801; Attn: Regina Stango Kelbon, Esq.
                                  (regina.kelbon@blankrome.com); (v) counsel to Crystal Financial
                                  LLC d/b/a SLR Credit Solutions, Morgan Lewis & Bockius, LLP,
                                  One Federal Street, Boston, Massachusetts 021110, Attn: Julia
                                  Frost-Davies (julia.frost-davies@morganlewis.com); and (vi)
                                  proposed counsel to the Committee, McDermott Will & Emery
                                  LLP, One Vanderbilt Avenue, New York, New York 10017-3852
                                  (Attn: Kristin Going, email: kgoing@mwe.com and Darren Azman,
                                  email: dazman@mwe.com). Any Professional that fails to file a
                                  Monthly Fee Application for a particular month or months may
                                  subsequently submit a consolidated Monthly Fee Application that
                                  includes a request for compensation earned or expenses incurred
                                  during previous months. All Monthly Fee Applications shall
                                  comply with the applicable provisions of the Bankruptcy Code, the
                                  Bankruptcy Rules, the Local Rules, and applicable orders of the
                                  Court. The first Monthly Fee Application submitted by each
                                  Professional shall cover the period from the Petition Date through
                                  and including July 31, 2023.

                             b.   Each Notice Party will have twenty-one (21) days after service of a
                                  Monthly Fee Application (the “Objection Deadline”) to object to the
                                  requested fees and expenses in accordance with the procedures
                                  described in subparagraph (c) below. Upon the expiration of the
                                  Objection Deadline, each Professional may file with the Court a
                                  certificate of no objection (a “CNO”), as appropriate, with respect
                                  to the unopposed portion of the fees and expenses requested in its
                                  Monthly Fee Application. After a CNO is filed, the Debtors are
                                  authorized to pay the applicable Professional an amount
                                  (the “Actual Monthly Payment”) equal to the lesser of (i) 80% of the
                                  fees and 100% of the expenses requested in the Monthly Fee
                                  Application (the “Maximum Monthly Payment”) or (ii) 80% of the
                                  fees and 100% of the expenses not subject to an unresolved
                                  objection pursuant to subparagraph (c) below.

                             c.   If any Notice Party objects to a Professional’s Monthly Fee
                                  Application, it must, on or before the expiration of the Objection
                                  Deadline, file with the Court and serve on such Professional and
                                  each other Notice Party a written objection (an “Objection”) so as to
                                  be received on or before the Objection Deadline. Any such
                                  Objection shall identify with specificity the objectionable fees
                                  and/or expenses, including the amount of such objected to fees
                                  and/or expenses, and the basis for such Objection. Thereafter, the
                                  objecting party and the affected Professional may attempt to resolve
                                  the Objection on a consensual basis. If the parties are unable to
                                  reach a resolution within fourteen (14) days after service of the
                                  Objection, the affected Professional may either: (i) file a response to


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                                  the Objection with the Court, together with a request for payment of
                                  the difference, if any, between the Maximum Monthly Payment and
                                  the Actual Monthly Payment made to such Professional (the
                                  “Incremental Amount”) or (ii) forego payment of the Incremental
                                  Amount until the next interim or final fee application hearing, at
                                  which time the Court will consider and rule on the Objection if
                                  requested by the Professional subject to the Objection.

                             d.   With respect to the first three-month period from the Petition Date
                                  through September 30, 2023, and each subsequent three-month
                                  period, each Professional may file with the Court and serve on the
                                  Notice Parties an application (an “Interim Fee Application”) for
                                  interim allowance of compensation and reimbursement of expenses
                                  sought in the Monthly Fee Applications filed during each such three-
                                  month period (the “Interim Fee Period”) pursuant to section 331 of
                                  the Bankruptcy Code. The Interim Fee Application must identify
                                  the covered Monthly Fee Applications and include any other
                                  information requested by the Court or required by the applicable
                                  Local Rules. Interim Fee Applications, if any, shall be filed with
                                  the Court and served on the Notice Parties within forty-five (45)
                                  days after the end of the applicable Interim Fee Period. Each
                                  Professional shall file its first Interim Fee Application, if any, on or
                                  before November 14, 2023. Objections, if any, to the Interim Fee
                                  Applications shall be filed and served upon the affected Professional
                                  and the Notice Parties so as to be received on or before the twenty-
                                  first (21st) day (or the next business day if such day is not a business
                                  day) following service of the Interim Fee Application.

                             e.   If any Interim Fee Applications are filed, the Debtors shall request
                                  that the Court schedule a hearing on Interim Fee Applications at
                                  least once every three (3) months or at such other intervals as the
                                  Court deems appropriate. Upon allowance by the Court of a
                                  Professional’s Interim Fee Application, the Debtors shall be
                                  authorized to promptly pay such Professional all allowed fees
                                  (including the 20% holdback) and allowed expenses not previously
                                  paid.

                             f.   The pendency of an Objection to payment of compensation or
                                  reimbursement of expenses shall not disqualify a Professional from
                                  the future payment of compensation or reimbursement of expenses
                                  pursuant to the Compensation Procedures.

                             g.   Neither (i) the payment of or the failure to pay, in whole or in part,
                                  compensation for services and reimbursement of expenses under the
                                  Compensation Procedures nor (ii) the filing of or the failure to file
                                  an Objection to any Monthly Fee Application or Interim Fee
                                  Application will bind any party in interest or the Court with respect


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                                  to the allowance of interim or final applications for compensation
                                  for services and reimbursement of expenses of Professionals. All
                                  fees and expenses paid to Professionals in accordance with the
                                  Compensation Procedures are subject to disgorgement until final
                                  allowance by the Court.

                             h.   Professionals shall file final applications for compensation and
                                  reimbursement (collectively, the “Final Fee Applications”) by such
                                  deadline as may be established in a confirmed chapter 11 plan or in
                                  an order of the Court. All Final Fee Applications shall comply with
                                  the applicable provisions of the Bankruptcy Code, the Bankruptcy
                                  Rules, the Local Rules, and applicable orders of the Court.

                             i.   Copies of all Monthly Fee Applications, Interim Fee Applications,
                                  Final Fee Applications, and notices of any hearings thereon
                                  (each, a “Hearing Notice”) must be served upon only the Notice
                                  Parties. All other parties who file a request for service of notices
                                  pursuant to Bankruptcy Rule 2002 shall be entitled to receive only a
                                  copy of the Hearing Notice. Notice given in accordance with the
                                  Order is deemed sufficient and adequate and in full compliance with
                                  the applicable provisions of the Bankruptcy Code, the Bankruptcy
                                  Rules, and the Local Rules.

        3.       In each Interim Fee Application and Final Fee Application, all attorneys who have

been or are hereafter retained pursuant to sections 327 or 1103 of the Bankruptcy Code, unless

such attorney is employed and retained pursuant to the OCP Motion and is not required to file fee

applications in accordance with the terms thereof shall (i) apply for compensation for professional

services rendered and for reimbursement of expenses incurred in connection with these Chapter

11 Cases in compliance with sections 330 and 331 of the Bankruptcy Code and applicable

provisions of the Bankruptcy Rules, the Local Rules, and any other applicable procedures and

orders of this Court and (ii) make a reasonable effort to comply with the U.S. Trustee’s requests

for information and additional disclosures as set forth in the Guidelines for Reviewing Applications

for Compensation and Reimbursement of Expenses Filed Under 11 U.S.C. § 330 by Attorneys in

Larger Chapter 11 Cases Effective as of November 1, 2013.




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        4.       The Debtors shall include all payments made to Professionals in accordance with

the Compensation Procedures in its monthly operating reports, identifying the amount paid to each

of the Professionals.

        5.       Nothing in this Order shall alter the fee application requirements outlined in

sections 330 and 331 of the Bankruptcy Code.

        6.       All time periods referenced in this Order shall be calculated in accordance with

Bankruptcy Rule 9006(a).

        7.       The Debtors are authorized and empowered to take all actions necessary to

implement the relief granted in this Order.

        8.       This Court shall retain jurisdiction to hear and determine all matters arising from

or related to the implementation of this Order.




    Dated: August 11th, 2023                          KAREN B. OWENS
    Wilmington, Delaware                              UNITED STATES BANKRUPTCY JUDGE



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